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                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE EASTERN DISTRICT OF VIRGINIA
                               Newport News Division



CENTER FOR BIOLOGICAL DIVERSITY,

               Plaintiff,

                       v.                            Civil Action No.: 4:21-cv-132

UNITED STATES MARITIME                               Complaint for Declaratory and Injunctive
ADMINISTRATION, PETE BUTTIGIEG, in                   Relief
his official capacity, and LUCINDA
LESSLEY, in her official capacity,

               Defendants.




                                       INTRODUCTION

       1.      This case involves the United States Maritime Administration’s (MARAD)

America’s Marine Highway Program, which is designed to expand the use of America’s

navigable waterways for commercial transportation. MARAD violated the Endangered Species

Act (ESA) by failing to comply with Section 7 of the ESA, which requires that all federal

agencies engage in consultation with the U.S. Fish and Wildlife Service (FWS) and/or National

Marine Fisheries Service (NMFS) to ensure that their programs and other actions do not

jeopardize endangered or threatened species or impair their critical habitats. 16 U.S.C. §

1536(a)(2).

       2.      Through the America’s Marine Highway Program, MARAD has promulgated

regulations intended to expand the use of the Marine Highway System and has awarded millions

of dollars in grants for the expansion of vessel traffic on rivers, bays, and coastal areas. MARAD
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recently announced that it is making an additional $10,819,000 available for grants to fund

Marine Highway projects in 2021.

       3.        Many of the projects funded by MARAD are in habitat for ESA-listed species.

This includes the James River Container Expansion Project, a MARAD-designated Marine

Highway Project that was awarded a $1,822,093 grant in 2018 for the acquisition of a barge to

expand vessel service in the James River and to initiate a new container shuttle service in the

Hampton Roads area. This project has applied for additional funding under the 2021 round of

grants. The James River is designated critical habitat for the Chesapeake Bay distinct population

segment of Atlantic sturgeon, and these endangered fish are highly susceptible to ship strikes,

particularly in the James River. Collisions with vessels are considered to be a major threat to this

subpopulation.

       4.        The James River Expansion Project is one of many such actions funded by

MARAD across the country through the America’s Marine Highway Program. The creation and

expansion of a nationwide network of designated Marine Highways under MARAD’s America’s

Marine Highway Program and the increase in vessel traffic on Marine Highways from MARAD

grants certainly “may affect” listed species that rely on those waterways—the low threshold for

requiring ESA Section 7 consultation. 50 C.F.R. § 402.14(a). Indeed, several of the projects

funded by MARAD over the past few years and/or that have applied for funding under the 2021

grants demonstrate that the America’s Marine Highway Program adversely affects protected

species.

       5.        However, MARAD has failed to initiate and complete ESA Section 7 consultation

with the FWS and/or NMFS (together, the “Services”) on the James River Expansion Project or

other such Marine Highway Projects it has funded that pose risks to listed species. Nor has it


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engaged in programmatic consultation to assess the cumulative effects of its actions on listed

species and to guide the implementation of the America’s Marine Highway Program as a whole,

as the ESA requires.

       6.      Both project-specific and programmatic ESA consultation are vital for ensuring

that MARAD fully considers the impacts to imperiled wildlife when administering the America’s

Marine Highway Program. The applicable regulations in fact require consultation at both the

programmatic and project-specific stages for the America’s Marine Highway Program. See 50

C.F.R. § 402.14(c)(4) (project-specific consultation “does not relieve the Federal agency of the

requirements for considering the effects of the action as a whole”).

       7.      Project-specific consultation is required for any action authorized or funded by an

agency that may affect listed species, such as the purchase of vessels funded by MARAD grants

on the James River. The consultation process has been referred to as the “heart” of the ESA and

is required in order to effectuate the ESA’s substantive mandate that agencies prevent jeopardy

to imperiled wildlife and avoid the destruction of critical habitat. 16 U.S.C. § 1536(a)(2).

       8.      For federal programs that affect listed species, such as the America’s Marine

Highway Program, programmatic consultation is required to allow the Services to establish

standards, guidelines, and governing criteria to avoid or minimize the effects of the program by

instituting protocols to track and respond to the collective impacts of the program. This

programmatic review provides the only way to avoid piecemeal destruction of species and

habitat. That is because the aggregate impacts of the Program can be analyzed and meaningfully

addressed only through programmatic review, which is necessary to ensure the effects of the

program as a whole do not jeopardize listed species through death by a thousand small cuts.




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       9.      MARAD, however, has never consulted on the James River Expansion Project

and has failed to undertake programmatic consultation on the America’s Marine Highway

Program. The agency has therefore failed to fulfill its duty under the ESA to ensure that its

actions will not jeopardize imperiled species.

       10.     Plaintiff therefore seeks a declaration that MARAD is in violation of ESA Section

7, a date certain by which MARAD must complete the required consultations with the Services,

and any other appropriate relief.


                                 JURISDICTION AND VENUE

       11.     This case arises under the ESA, 16 U.S.C. §§ 1531-1544 and the Court has

jurisdiction under the ESA citizen suit provision, 16 U.S.C. §§ 1540(c), (g).

       12.     By written notice to Defendants dated July 27, 2021, Plaintiff provided notice of

intent to file suit more than sixty days prior to the filing of this complaint, as required by the

ESA. 16 U.S.C. § 1540(g). Plaintiff’s notice letter demanded that Defendants initiate and

complete project-specific and programmatic ESA consultation on the America’s Marine

Highway Program. Defendants failed to respond or remedy the alleged violations, and therefore

an actual, justiciable controversy exists within the meaning of 28 U.S.C. § 2201(a).

       13.     Venue is appropriate in this Court under 28 U.S.C. § 1391(e)(1) because a

substantial part of the events or omissions giving rise to the claim occurred in this District.


                                              PARTIES

                                               Plaintiff

       14.     Plaintiff Center for Biological Diversity (the Center) is a national nonprofit

conservation organization that works through science, law, and policy to secure a future for all

species, great or small, hovering on the brink of extinction. The Center has 89,610 members and

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more than 1.6 million online supporters worldwide. The Center has worked for decades to

safeguard water and aquatic habitats for people, plants, and animals. The Center’s members and

staff value and benefit from rare species’ continued existence in the wild and are harmed by

industrial development and associated trends like global climate change and water degradation

that threaten wild species’ survival and recovery. The Center has worked for years to protect

imperiled species that may be harmed by the America’s Marine Highway Program, including

imperiled fish, whales, turtles, birds, and mussels that rely on rivers, bays, and coastal areas that

are crossed by Marine Highway Projects.

       15.     In bringing this lawsuit, Plaintiff advocates for the interests of its members who

live, work, and recreate in places affected by MARAD’s Marine Highway Projects and who use,

study, and cherish the land, water, wildlife, and other resources that will be irrevocably damaged

by MARAD’s activities, including increasing vessel traffic on Marine Highways.

       16.     MARAD’s America’s Marine Highway Program has been, and will continue to

be, used to fund activities across the country that increase vessel traffic on waterways that

provide essential habitat for protected species, thereby adversely affecting areas that people and

wildlife rely on, including members of the Center.

       17.     The Center has members whose interests are adversely affected by direct, indirect,

and cumulative harm from MARAD’s Marine Highway Program to aquatic areas that such

members use and enjoy, including areas that are habitat for ESA-listed wildlife. For example,

increasing vessel traffic on MARAD-designated Marine Highways, such as the Missouri,

Hudson, Columbia, and James Rivers, increases the risk of ship collisions and wake strandings

for ESA-listed sturgeon and salmon, resulting in direct mortality that undermines protection and

recovery efforts that Plaintiff and its members have long been engaged in.


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          18.   Plaintiff’s members have researched, studied, observed, and sought protection for

endangered species that are adversely affected—and whose survival and recovery are

threatened—by America’s Marine Highway Program activities, including increased vessel traffic

on the James River and other Marine Highways. Plaintiff’s members and staff have visited and

observed or sought out threatened and endangered species that are imperiled by the America’s

Marine Highway Program, and enjoy hiking, fishing, and observing wildlife in wetlands, along

rivers and streams, and in coastal areas that are impacted by MARAD-funded activities,

including increased vessel traffic on MARAD-designated Marine Highways. Plaintiffs’ members

intend to continue to visit and observe, or attempt to visit and observe, these species in the near

future.

          19.   The Center has many members that live near and/or regularly recreate on the

James River. Center members include individuals that routinely visit the James River to kayak,

paddleboard, sail, or otherwise recreate on the river, and who seek out and enjoy imperiled

wildlife, including fish, that rely on the James River. For example, one Center member has a

long-held interest in protecting the habitat of the James River, lives just adjacent to the river on a

small tributary, and spends considerable time on the river with his family. This member intends

to continue using the river for recreation and wildlife viewing on an ongoing basis in the future.

Another Center member that is pursuing a PhD in wildlife conservation has a long history of

visiting the James River with her family and has concrete plans to continue to visit the river in

the future to seek out and enjoy the wildlife and wildlife habitat in the river, including habitat of

the Atlantic sturgeon and other protected species. Increasing vessel traffic on the James River

adversely affects these and other members’ scientific, recreational, spiritual, emotional, and

aesthetic interests in the James River.


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       20.     The Center’s members also include individuals who study and advocate for

various threatened and endangered species, and whose interests in studying and enjoying these

species and their habitats are entirely dependent on the continued existence of such species. Any

action that interferes with and/or harms these species also harms those members’ interests and

enjoyment in studying those species. Any loss of individual species or habitat from the

America’s Marine Highway Program activities would hamper their ability to undertake such

research in the future, thereby harming their academic and aesthetic interests in those species.

       21.     For example, one of the Center’s members is a fish biologist and university

professor whose work involves understanding the life history characteristics—such as population

dynamics, abundance, distribution, and recruitment—of endangered and threatened sturgeon,

such as those in the James River and several other rivers affected by the America’s Marine

Highway Program. This professor has spent much of his professional life studying sturgeon and

plans to continue to study these species and write books and articles about them. His ability to

study and enjoy imperiled sturgeon and their habitats is entirely dependent on the continued

existence of the species, and therefore any loss of individual sturgeon and degradation of

sturgeon habitat would hamper his ability to undertake research in the future, thereby harming

his academic and aesthetic interests in these species.

       22.     The Center also has other members with a direct interest in protecting Marine

Highways and the habitat they provide. For example, one of the Center’s members has a long

history of protecting the Missouri River, including as the chair of the Missouri Clean Water

Campaign, which is involved in protecting and restoring endangered aquatic/riverine species

individuals and populations in the Missouri River. This member regularly visits the Missouri

River for fishing and wildlife viewing and plans to continue to do so into the future. He has


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dedicated much of his life to protecting the Missouri River system, and therefore any action that

harms the river or the species that rely on it adversely affects his professional, aesthetic, and

recreational interests in the preservation of the Missouri River system and the habitat it provides,

both for listed and non-listed species.

        23.        MARAD’s issuance of grants under the America’s Marine Highway Program—

including grants to increase large vessel traffic on the James River and other rivers and coastal

areas where ESA-listed species are present—demonstrates that this program has adversely

affected, and will continue to adversely affect, wildlife that rely on Marine Highways, thereby

harming the interests of Plaintiffs’ members who live near, study, and/or enjoy areas affected by

such activities.

        24.        As a result, MARAD’s Marine Highway Program threatens waters that members

use and enjoy both as a resource and for the habitat they provide for plants and animals. The

negative ecological effects of increased vessel traffic on Marine Highways interferes with

members’ use and enjoyment of those waterways and the wildlife they support.

        25.        Plaintiff’s members derive scientific, recreational, spiritual, and aesthetic benefits

from imperiled species’ existence in the wild. Their interest in maintaining the species inhabiting

rivers, streams, and wetlands that may be affected by the America’s Marine Highway Program is

entirely dependent on the continued existence of healthy, sustainable, and accessible ecosystems

and populations. Any activities that “may affect” or destroy, degrade, or diminish these areas, or

that kill, injure, harm, harass, or displace populations of listed species, interfere with the Center’s

members’ use and enjoyment of the areas and species.

        26.        MARAD’s failure to ensure, through ESA consultation, that the James River

Expansion Project and the America’s Marine Highway Program as a whole will not jeopardize


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protected species directly and irreparably injures Plaintiff’s interests in such species. MARAD’s

failure to comply with the requirements of the ESA delays, avoids, and undermines protections

that are necessary to secure Plaintiff’s interests in the existence of listed species and their critical

habitat.

           27.   MARAD’s failure to comply with the ESA means that Plaintiff and its members

may never even learn about—let alone be in a position to seek to ameliorate—the impacts of

Marine Highway projects on listed species and critical habitats of vital interest to Plaintiff and its

members.

           28.   Plaintiff has also suffered procedural injury from Defendants’ failure to comply

with Section 7 of the ESA. Because compliance with the Section 7 consultation process is

essential to protect listed species and critical habitats as to which the Center’s members have

concrete interests, Defendants’ failure to comply with Section 7 is causing current and ongoing

harm to Plaintiff’s substantive recreational, scientific, spiritual, and aesthetic interests. The

Center relies on Defendants’ compliance with Section 7 to achieve the Center’s organizational

purposes on behalf of itself and its members, including monitoring the impacts of agency actions

on the environment and listed species; monitoring legal compliance concerning environmental

management; educating members, directors, staff, and the public concerning species

management and the state of the environment; and advocating for policies that protect habitats

and wildlife.

           29.   Plaintiff is a non-profit conservation organization with limited resources that can

be dedicated to its core mission to protect the environment, imperiled species, and the habitats

they rely on. Defendants’ actions impede Plaintiff’s ability to carry out its fundamental mission,




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and directly undercuts decades of successful work by Plaintiff to enforce environmental laws that

protect waterways and listed species.

       30.     Defendants’ failure to comply with the ESA is causing actual, concrete injuries to

the Center and its members. The interests and organizational purposes of the Center and its

members are directly and irreparably injured by Defendants’ violations of law as described in

this Complaint. Unless this Court grants the requested relief, harm to the environment and

protected species will continue to accrue, and the aesthetic, recreational, educational,

professional, scientific, spiritual, and conservation interests of Plaintiff and its members will

continue to be adversely affected.

       31.     The relief Plaintiff seeks in this lawsuit will redress its injuries by requiring

MARAD to comply with the ESA. This relief will protect Plaintiff’s interests by ensuring that

listed species will not be jeopardized by the James River Expansion Project and the America’s

Marine Highway Program, as the ESA requires, and give Plaintiff and its members more

comprehensive and complete information regarding the Program’s threats to waterways,

protected species, and other valued resources. It will allow Plaintiff, its members and supporters,

and others who are concerned about such activities, to participate and advocate more effectively

for changes to mitigate the adverse impacts of the America’s Marine Highway Program.

                                            Defendants

       32.     Defendant United States Maritime Administration (MARAD) is the federal

agency that oversees the America’s Marine Highway Program. MARAD is within the U.S.

Department of Transportation. MARAD’s purpose is to increase the utilization of domestic

freight or passenger transportation on marine highway routes between U.S. ports. As part of the

America’s Marine Highway Program, MARAD promulgates regulations, designates Marine


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Highways and Projects, and awards grants for these Projects that increase vessel traffic on

Marine Highways.

        33.     Defendant Pete Buttigieg is the Secretary of Transportation and has authority over

MARAD, which is within the Department of Transportation. Plaintiff brings this action against

Secretary Buttigieg in his official capacity only.

        34.     Defendant Lucinda Lessley is the Acting Administrator of MARAD. Plaintiff

brings this action against Mrs. Lessley in her official capacity only.

                                     LEGAL BACKGROUND

                                   The Endangered Species Act

        35.     With the ESA, Congress intended endangered species to be afforded the highest

of priorities. The ESA’s purpose is “to provide a means whereby the ecosystems upon which

endangered species and threatened species depend may be conserved, [and] to provide a program

for the conservation of such endangered species and threatened species.” 16 U.S.C. § 1531(b).

        36.     The ESA assigns responsibility to implement the statute to the Secretaries of

Commerce and Interior, which in turn have delegated responsibility to the National Marine

Fisheries Service and the U.S. Fish and Wildlife Service, respectively. 50 C.F.R. § 402.01.

        37.     To fulfill the substantive purposes of the ESA, federal agencies are required to

engage in Section 7 consultation with the Services to “insure that any action authorized, funded,

or carried out by such agency . . . is not likely to jeopardize the continued existence of any

endangered species or threatened species or result in the destruction or adverse modification of

habitat of such species which is determined . . . to be critical.” 16 U.S.C. § 1536(a)(2). To

“jeopardize” means “to engage in an action that reasonably would be expected, directly or

indirectly, to reduce appreciably the likelihood of . . . the survival [or] recovery of a listed


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species in the wild by reducing the reproduction, numbers, or distribution of that species.” 50

C.F.R. § 402.02.

        38.    The ESA’s regulatory definition of “action” is broad and includes “all activities or

programs of any kind authorized, funded, or carried out, in whole or in part, by Federal agencies

in the United States or upon the high seas,” such as the promulgation of regulations, the granting

of “grants-in-aid,” or any actions directly or indirectly causing modifications to the land, water,

or air. Id.

        39.    Section 7(a)(2) and its implementing regulations set forth a detailed process that

must be followed before agencies take or approve actions that may affect threatened or

endangered species or critical habitat. In fulfilling the requirements of Section 7(a)(2) and the

procedural requirements set forth in 50 C.F.R. Part 402, agencies must “use the best scientific

and commercial data available.” 16 U.S.C. § 1536(a)(2).

        40.    Each federal agency must “review its actions at the earliest possible time to

determine whether any action may affect listed species or critical habitat” in the action area and

thus whether consultation is required. 50 C.F.R. § 402.14(a). The term “may affect” is broadly

construed to include “[a]ny possible effect, whether beneficial, benign, adverse, or of an

undetermined character,” and thus is easily triggered. 51 Fed. Reg. 19,926, 19,949 (June 3,

1986). The “action area” includes all areas that would be “affected directly or indirectly by the

Federal action and not merely the immediate area involved in the action.” 50 C.F.R. § 402.02.

        41.    Pursuant to Section 7, if listed species or critical habitat may be present in the

action area, the agency must analyze the proposed action’s effects. It may do so by first engaging

in “informal consultation” with the Service(s). See 50 C.F.R. §§ 402.12, 402.13, 402.14(b)(1). If

the agency concludes, in a biological assessment, that the action is “not likely to adversely


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affect” listed species—and the Service lawfully concurs in writing—then the consultation

process is completed. Id. § 403.13(c). Conversely, if the action is “likely to adversely affect”

listed species, the agency must enter into “formal consultation” with the Service(s), a more

extensive and protective process to consider the action’s impacts. Id. §§ 402.12(k), 402.14(a).

       42.     Formal ESA consultation commences with the action agency’s written request for

consultation and concludes with the Services’ issuance of a “biological opinion.” Id. §§ 402.02;

402.14(c), (g)(4). During formal consultation, the Services and the action agency must evaluate

the “[e]ffects of the action,” including all direct and indirect effects of the proposed action, plus

the effects of actions that are interrelated or interdependent, added to all existing environmental

conditions—that is, the “environmental baseline.” Id. §§ 402.02, 402.14(g)(3). “The

environmental baseline includes the past and present impacts of all Federal, State, or private

actions and other human activities in the action area . . . .” Id. § 402.02. The effects of the action

must be considered together with “cumulative effects,” which are “those effects of future State or

private activities, not involving Federal activities, that are reasonably certain to occur within the

action area of the Federal action subject to consultation.” Id.

       43.     The biological opinion is the heart of the formal consultation process and states

the Services’ opinion as to whether the effects of the action are “likely to jeopardize the

continued existence of listed species or result in the destruction or adverse modification of

critical habitat.” Id. § 402.14(g)(4), (h)(3); see 16 U.S.C. § 1536(a)(2), (b)(3)(A).

       44.     If the Services determine that the action is likely to jeopardize a species, the

biological opinion must outline “reasonable and prudent alternatives” to the action, if any exist,

that will avoid jeopardy and “which [the agency] believes would not violate [Section 7(a)(2)].”

16 U.S.C. § 1536(b)(3)(A); 50 C.F.R. § 402.14(h)(3). The Services may also “suggest


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modifications” to the action during the course of consultation “to avoid the likelihood of adverse

effects” to the listed species even when not necessary to avoid jeopardy. 50 C.F.R. § 402.13(b).

        45.     For Federal programs that may affect listed species, such as the America’s Marine

Highway Program, agencies must also engage with the Services in “programmatic consultation”

to guide the implementation of such programs by establishing standards, guidelines, or governing

criteria to avoid, minimize, or offset the effects of the program on listed species and critical

habitat, and to establish protocols to track and respond to the collective impacts of actions taken

pursuant to the program. See 50 C.F.R. § 402.02; id. § 402.14(c)(4) (requiring Federal agencies

to consider “the effects of the action or actions as a whole”). The Services’ regulations provide

that for federal programs, programmatic consultations and project-specific consultations work in

tandem, with each playing a vital role in protecting imperiled species. See 84 Fed. Reg. 44,976,

44,997 (Aug. 27, 2019).

                                   FACTUAL BACKGROUND

                            The America’s Marine Highway Program

        46.     The America’s Marine Highway Program was established by the Energy

Independence and Security Act of 2007. 46 U.S.C. § 55601. The purpose of the Program is to

“encourage the use of marine highway transportation through the development and expansion of

- 1) vessels . . .; 2) shipper utilization; 3) port and landside infrastructure; and 4) marine

transportation strategies by State and local government.” Id. § 55601(b). The Program includes

not only promoting the development of marine highway transportation services, but also the

development of “performance measures for the marine highway transportation program.” Id. §

55601(e). The statute further requires the Secretary to “establish and implement a marine




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highway transportation grant program to implement projects” designated by the Secretary. Id.

§55601(g)(1).

       47.      MARAD’s stated purpose is to increase the utilization of domestic freight and

passenger transportation on marine highway routes between U.S. ports. Indeed, MARAD states

on its website that it has “one major goal: expand the use of America’s navigable waters.”

       48.      MARAD achieves this goal through the America’s Marine Highway Program,

under the auspices of which it promulgates regulations through rulemakings, designates specific

Marine Highway Routes, and provides funds for designated Marine Highway Projects across the

country through grants that expand the use of the Marine Highway System.

       49.      The Marine Highway System, as created by MARAD, includes 26 designated

“Marine Highway Routes”:




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       50.     These Marine Highways are used as an alternative to “landside” shipping and

transportation options for people and bulk commodities, including things like grain, steel, coal,

and oil.

       51.     Through the America’s Marine Highway Program, MARAD provides grants to

private companies, state and local governments, and port authorities to fund the expansion of

vessel traffic on Marine Highways, including funding the purchase of barges or other vessels and

equipment, and studies to increase the viability and use of Marine Highways.

       52.     These grants are available only for MARAD-designated Marine Highway

Projects. Since its inception, MARAD has designated 46 Marine Highway Projects, many of

which are in Marine Highway Routes that provide habitat for ESA-listed species. MARAD

announced on August 19, 2021, that it has designated six new Maine Highway Projects and one

new Marine Highway Route.

       53.     Through the America’s Marine Highway Program, MARAD has provided tens of

millions of dollars in grants over the past 11 years for Marine Highway Projects, and just

recently announced that it is making an additional $10,819,000 available for grants to fund

Marine Highway Program projects—applications for which were due June 25, 2021.

       54.     In 2014, MARAD provided notice in the Federal Register that it had prepared a

draft Programmatic Environmental Assessment (2014 DPEA) “to evaluate potential

environmental impacts associated with the execution of the ‘America’s Marine Highway’

Program, in compliance with the National Environmental Policy Act.” 79 Fed. Reg. 40838 (July

14, 2014). The notice states that “the program provides a set of tools for use by ports, state and

local governments, and private industry to consider expansion of [America’s Marine Highway]

services,” and that “MARAD envisions that additional environmental analyses of the federal


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aspects of future project and service development along designated [America’s Marine Highway]

routes will be necessary.” Id. MARAD does not appear to have published a final Programmatic

Environmental Assessment, but it did issue a finding of no significant impact on September 9,

2014.

                        The James River Container Expansion Project

        55.    In 2010, MARAD designated the James River Container Expansion Project on

Marine Highway Route M-64. In 2018, MARAD awarded a grant of $1,822,093 to the James

River Barge Line (Sponsored by Virginia Port Authority) to acquire a barge to expand service in

the James River and to initiate a new container shuttle service in the Hampton Roads area. This

project has applied to MARAD for additional funding under the latest round of America’s

Marine Highway Program grants.

        56.    The James River is designated critical habitat for the Chesapeake Bay distinct

population segment of Atlantic sturgeon. These endangered fish are highly susceptible to ship

strikes, particularly in the James River. This issue has been the subject of several studies,

documenting dozens of Atlantic sturgeon ship strikes in the James River that resulted in direct

mortalities.

        57.    In its 2007 Status Review for Atlantic sturgeon, NMFS stated that vessel strikes in

the James River are “considered to be a major threat” to the subpopulation, and noted that

vessels routinely strike sturgeon in the James River, which is “more prone to ship strikes”

because it has “large ports and [a] relatively narrow waterway,” and that in these small

subpopulations “the loss of any spawning adults could have a substantial impact on recovery.”




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          Impacts to Listed Species from the America’s Marine Highway Program

       58.     MARAD-designated Marine Highway Routes include habitat—including

designated critical habitat—for many listed species. This includes, for example, North Atlantic

right whales and loggerhead sea turtles along the M-95 corridor; Atlantic and shortnose sturgeon

in the Hudson River; Atlantic sturgeon in the James River; imperiled freshwater mussels in the

Tennessee Tombigbee Waterway, Black Warrior & Tombigbee Rivers, and Ohio River;

steelhead, chinook salmon, chum salmon and bull trout in the Columbia River and Snake River;

humpback whales, blue whales, fin whales, sperm whales, and leatherback sea turtles along the

Pacific coast; longfin and delta smelt, steelhead, and green sturgeon in the San Francisco Bay,

San Pablo Bay, Carquinez Strait and San Joaquin River; humpback whales and stellar sea lions

in the Gulf of Alaska; and pallid sturgeon in the Mississippi River and Missouri River.

       58.     MARAD’s 2014 DPEA acknowledges in several places that Marine Highway

Services supported by the America’s Marine Highway Program “have the potential to affect

populations and habitats of federally protected species” because of the proximity of marine

species and migratory pathways, and it lists dozens of ESA-listed species across the country that

occur in waterways affected by the Program.

       59.     The America’s Marine Highway Program is specifically intended to expand the

use of rivers, bays, channels, and coastal zones by investing in infrastructure—including vessels,

such as barges, and other expanded service—thereby increasing the industrial use of waterways

that are relied upon by listed species.

       60.     The escalation of vessel traffic directly attributable to MARAD’s America’s

Marine Highway Program and the grants awarded under that program increases the risk of harm

to imperiled species that rely on affected waterways by increasing the risk of ship strikes (i.e.,


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collisions), entrainment (i.e., passage of fish through a ship’s water intake), strandings (i.e.,

vessel wake causing fish to be washed ashore), and spills of contaminants such as oil and gas.

       61.     Specific Marine Highway Projects that have been funded by America’s Marine

Highway Program grants over the past several years—in addition to the James River Expansion

Project discussed above—demonstrate the risks that the Program poses to listed species. The

Program therefore meets the ESA’s “may affect” threshold for ESA Section 7 consultation. Such

projects include the following:

       62.     Port of Morrow Barge Service Expansion: Grants were awarded in 2019

($1,623,200) and 2020 ($3,200,000) for the expansion of barge services on the Columbia River

(M-84). Those projects increased barge capacity in areas that are designated critical habitat for

several listed species, including Lower and Middle Columbia River DPS Steelhead, Lower

Columbia River DPS Chinook Salmon; Columbia River DPS Chum Salmon; and Bull Trout.

These species are adversely affected by wake stranding from large vessel traffic.

       63.     New York Harbor Container and Trailer-on-Barge Service: MARAD issued a

$308,000 grant in 2020 to the U.S. Coastal Service, Inc. for planning, permitting, and

engineering studies intended to start and/or expand Trailer-on-Barge operations in the New York

City area – particularly in the Hudson River (M-95). The Hudson River is designated critical

habitat for Atlantic sturgeon, as well as home to endangered shortnose sturgeon. These sturgeon

are known to be susceptible to ship strikes, which can adversely affect their recovery and

continued existence. According to NMFS’ Species Directory for Atlantic sturgeon, “[t]he risk of

injury and mortality can be high in areas with high ship traffic, including the Hudson.”

       64.     St. Louis area Container-on-Barge service: In 2020, MARAD awarded a

$1,268,800 grant to America’s Central Port District to purchase equipment necessary to support


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and expand the container on barge service in the St. Louis area of the Mississippi River (M-55),

in habitat for pallid sturgeon. Barges pose a significant threat to pallid sturgeon in the Mississippi

River. The Recovery Plan for the species acknowledges that threats to pallid sturgeon include

vessel propellers, which “can entrain and harm Pallid Sturgeon.”

       65.     Baton Rouge-New Orleans Shuttle: MARAD awarded a $3,155,622 grant in 2018

and a $1,040,000 grant in 2019 to SEACOR AMH for the purchase of vessels, including barges

and towboats to transport containers, for service on the Mississippi River (M-55), in habitat for

pallid sturgeon. As set forth above, NMFS has determined that one of the threats to the recovery

of the endangered pallid sturgeon is ship strikes and entrainment from such vessels.

       66.     Barge Service in the Ports of Cincinnati, Northern Kentucky, and Beyond: In

2020, MARAD awarded $545,136 to the Ports of Indiana to construct a new storage facility and

support expansion of service between Ghent, KY and the Port of Indiana-Jeffersonville, IN on

the Ohio River (M-70). The affected stretch of the Ohio River contains ESA-listed freshwater

mussels, including threatened rabbitsfoot and endangered pink mucket pearlymussel. FWS has

acknowledged that the habitats of freshwater mussels are vulnerable to water quality degradation

and habitat modification from adjacent development, including siltation from construction

projects along waterways. The increase in vessel traffic attributable to the MARAD grant also

increases the potential for contaminants to be introduced into the Ohio River, including heavy

metals and fuel/oil that can harm listed mussels.

       67.     On May 24, 2021, MARAD announced a new round of funding, with nearly $11

million available for America’s Marine Highway Program grants. Applicants for the 2021

MARAD grants include projects (besides those noted above) that may affect listed species,

including the following:


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       68.     Expanded Container-on-Barge Service in North Carolina: This project seeks to

expand barge services between Edenton, NC, and locations within the Port of Virginia. Container

on barge services along the M-95 and M-65 marine highway routes pose a significant risk to

Atlantic sturgeon in the Roanoke River and James River. As set forth above, Atlantic sturgeon

are known to be adversely affected by such boat traffic.

       69.     Chambers County Houston Container on Barge Expansion Service: This project

would expand cargo-by-barge services in the Houston Ship Channel, between Chambers County

and the Port of Houston, using the M-146 and M-10 marine highway routes. This would increase

vessel traffic in areas that are designated critical habitat for loggerhead sea turtles, which may be

killed or injured from collisions with boat hulls and propellers.

       70.     Fernandina Express M-95 Container on Barge Service: This container on barge

service, out of the Port of Fernandina in Florida, is intended to “service all coastal seaports

located along the Atlantic seaboard,” including the port of Savanah, which is termed a “mega-

hub” since it is a major connection point for various vessel traffic. This project implicates listed

species along the Atlantic coast, including critical habitat for endangered North Atlantic right

whales. Vessel strikes are a major threat to right whales, and their habitat and migration routes

are close to major ports along the Atlantic coastline and overlap with shipping lanes.

       71.     Mid Atlantic Barge Service Project: This project would expand barge services

between Hampton Roads, VA, Baltimore, MD, and Philadelphia, PA, in areas that are critical

habitat for Atlantic sturgeon. As set forth above, Atlantic sturgeon are known to be adversely

affected by such boat traffic.

       72.     In addition, MARAD’s Marine Highway Program is adversely affecting listed

species by contributing to the global climate crisis, including by subsidizing the use of Marine


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Highway routes through grants that expand service for fossil fuel transport, such as coal and

petroleum products. MARAD’s grants allow for increased transport of fossil fuels that are

contributing to the decline of imperiled wildlife by altering the ecosystems on which they

depend.

        73.     On July 2, 2021, the Center submitted a Freedom of Information Act request to

MARAD seeking any records regarding ESA Section 7 consultation for the Marine Highway

Program. MARAD failed to provide any documents indicating that is has initiated ESA Section 7

consultation on projects funded through the America’s Marine Highway Program that may affect

listed species, nor has the agency undertaken programmatic ESA consultation on the America’s

Marine Highway Program.

        74.     Although MARAD never consulted with the Services, NMFS did provide a letter

to MARAD stating that the Program would “result in vessels traveling through the areas of

known distribution of animals protected under the ESA and/or the [Marine Mammal Protection

Act] and could result in effects to these species. If the project would result in an increase in the

number of ships or change in the location of ship traffic, we would have concerns about an

increase in the risk of ship strikes. . . .”

                                    FIRST CLAIM FOR RELIEF

      Violations of the Endangered Species Act, 16 U.S.C. §§ 1531-1544, and applicable
                                        regulations

        75.     Plaintiffs reallege, as if fully set forth herein, each and every allegation contained

in the preceding paragraphs.

        76.     MARAD has a duty pursuant to ESA Section 7(a)(2) to ensure that its actions are

not likely to jeopardize the continued existence of endangered and threatened species or result in

the destruction or adverse modification of such species critical habitat. 16 U.S.C. § 1536(a)(2).

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To fulfill this duty, MARAD must initiate and complete project-specific ESA Section 7

consultation on the James River Expansion Project, as well as programmatic consultation on the

America’s Marine Highway Program.

       77.     MARAD’s grants and other efforts to expand vessel traffic on the James River

certainly “may affect” listed species. Vessel strikes with endangered Atlantic sturgeon are well

documented on the James River, and these collisions are not only considered to be a major threat

to the subpopulation, but NMFS has stated that increased vessel traffic could have a substantial

impact on recovery of the species. MARAD’s issuance of grants are specifically intended to

increase such vessel traffic, and therefore MARAD must initiate and complete consultation to

ensure that the increase in vessel traffic on the James River attributable to the MARAD grants

will not jeopardize listed species or destroy their critical habitat, as the ESA requires.

       78.     MARAD must also consult on the America’s Marine Highway Program as a

whole. 50 C.F.R. § 402.14(c)(4). The Program is specifically intended to expand, and does

expand, the use of rivers, bays, channels, and coastal zones by providing grants for

infrastructure—including vessels, such as barges, and other expanded service—thereby

increasing the use of waterways that are relied upon by listed species.

       79.     Through the America’s Marine Highway Program, MARAD promulgates

regulations and provides “grants-in-aid,” thereby funding activities that result in direct harm to

listed species from ship strikes, entrainment, strandings, spills of contaminants such as oil and

gas, as well as indirect impacts associated with climate change.

       80.     MARAD’s adoption and continued implementation of the America’s Marine

Highway Program is therefore an agency action that “may affect” listed species, and MARAD is

required to undertake programmatic ESA Section 7 consultation to analyze the additive effects of


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the program on listed species, in order to avoid piecemeal destruction of habitat that may

jeopardize species in violation of ESA Section 7.

       81.     Programmatic consultation on the America’s Marine Highway Program is

necessary to afford the Services the opportunity to identify where grants or other actions taken

by MARAD may be problematic for listed species or critical habitat, and to provide reasonable

and prudent measures to minimize take, such as measures to ensure that MARAD gathers and

analyzes sufficient data to prevent jeopardy to listed species, and to ensure that incidental take

does not occur at unsustainable levels.

       82.     MARAD’s failure to undertake and complete project-specific consultation on the

James River Expansion Project and programmatic consultation with the Services on the

America’s Marine Highway Program as a whole constitutes a failure to ensure, as mandated by

the ESA, that MARAD’s actions are not likely to jeopardize the existence of listed species or

result in destruction or adverse modification of critical habitat, in violation of Section 7 of the

ESA, 16 U.S.C. § 1536, and the ESA’s implementing regulations.


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court:

a)   Declare MARAD’s Marine Highway Program to be in violation of the ESA and applicable

     regulations;

b)   Order Defendants to initiate ESA Section 7 consultation regarding the James River

     Expansion Project and programmatic consultation on the Marine Highway Program, and to

     complete such consultations according to a schedule established by the Court;

c)   Award Plaintiffs their costs, expenses, and attorneys’ fees under applicable law; and

d)   Provide for such other relief as the Court deems just and appropriate.

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Dated: October 12, 2021            Respectfully submitted,

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